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July 19, 2025                                                                            Brian E. Klein
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Via ECF

Honorable Katherine Polk Failla
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

Re:     United States v. Storm, 23 Cr. 430 (KPF)

Dear Judge Failla:

On behalf of our client, defendant Roman Storm, we write to request exclusion of testimony of
government expert Phillip Werlau regarding hypothetical software modifications Mr. Storm
could have implemented to prevent misuses of Tornado Cash. 1

The government’s demonstrative slides for Werlau includes a slide that references a
“hypothetical user registry smart contract.” (GX 3005 at PDF 34.) This slide appears to relate to
a section of Werlau’s February 14, 2025 disclosure that states:

                 This means that the Tornado Cash founders could also have
                 implemented a new smart contract with a registry of authorized
                 users, and could have programmed the Router to call that smart
                 contract to check that the deposit address and/or withdrawal
                 address were included on that list. This hypothetical smart contract
                 could have been set up so that the Tornado Cash founders, or
                 another person or entity, had the ability to add or remove
                 authorized users based on a KYC process.

(Ex. 1 at 10.)

Testimony regarding a “hypothetical user registry smart contract” is exactly the sort of
hypothetical software modification this Court stated it would not permit Werlau to testify about.



1
  The parties met and conferred about this issue and another issue, Werlau testifying about a
“business model.” Regarding the latter, the government agreed that Werlau would not use that
term or testify about that subject matter, and references to it would be removed from the
government’s demonstrative slides for him.
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As the Court recognized, “[t]his isn’t a negligence case. It’s a willfulness case.” (7/8/2025 Tr. at
58:2-3.) This Court explained:

               To the extent Mr. Werlau can come up with some crazy
               thing that no one could have known, that would have fixed
               this, not going to be helpful, right? I presume what he’s
               going to testify -- I’m telling you what he’s going to testify
               are things that any software developer would have known,
               such as -- again, Mr. Storm is not being charged with
               negligence. He’s not being charged with not being the
               greatest, most comprehensive software developer in the
               world. You’re going to be arguing that there are things that,
               if you will, and with all respect, any idiot would have
               known to have put in place that he knew about and elected
               not to put in place. That’s what Werlau is testifying to.

(Id. at 61:23-62:10.) This Court went on to make clear, “I’m not letting him speak about any
possible thing that could be done, because of course everything has to be something that Mr.
Storm should have known about, knew about, and elected not to do.” (Id. at 98:6-9.)

Yet, Werlau appears poised to testify about a “possible” thing that “could have” been done that
this Court found inadmissible. The use of the term “hypothetical” is telling because there will be
no evidence that a “user registry smart contract” has ever actually been used in the blockchain
industry. This is term Mr. Werlau invented, and he points to no code that could accomplish it. It
is not the sort of thing that “any idiot” would have known to put in place.

Moreover, Werlau’s reference to a hypothetical user registry smart contract is particularly
troubling because Werlau himself has related it to a KYC process. (Ex. 1 at 10.) And this Court
disallowed testimony regarding KYC and similar processes:

               What I’m concerned about, though, is that it looks like Mr.
               Werlau is going to be talking about know your customer
               rules or know your customer protocols. When you start
               doing that, I get concerned, because he didn’t have a legal
               or regulatory obligation to implement “know your
               customer” protocols. So, therefore, I am troubled by the
               idea of him being convicted for not doing what he was not
               legally required to do. So, that’s a thing.

(7/8/2025 Tr. at 58:24-59:6.) This Court stated: “the words ‘know your customer,’ KYC, AML,
ABM, should not be coming from his lips.” (Id. at 134:7-8.)

But as Werlau makes clear in his disclosure, the whole point of his “hypothetical user registry
smart contract” is that Mr. Storm would have had “the ability to add or remove authorized users
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based on a KYC process.” (Ex. 1 at 10.) Even if Werlau does not utter the words “KYC,” his
point would still be that Mr. Storm should have implemented that sort of process. 2

For all the foregoing reasons, this Court should not permit Werlau to testify or use slides
regarding “hypothetical” measures Mr. Storm could have implemented, such as a user registry
smart contract. The defense maintains all of its prior objections to Werlau’s testimony,

Respectfully submitted,




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2
  For this reason, defense expert Michael Carter, based on his considerable experience in
compliance, discusses why such hypothetical smart contracts cannot exist, given how KYC
processes actually work. (See Carter Supplemental Disclosure ¶¶ 9-19). He further opines that
such a hypothetical smart contract would “create significant legal and operational risks for the
software developers, and data security and data privacy risks for the users.” (Id. ¶ 19). Indeed, he
opines that it would be “unethical to direct developers to collect, hold, and safeguard personal
information about persons to whom they have no contractual relationship or duties.” (Id. ¶ 14).
